          Case 1:21-cv-00595-RAH Document 9 Filed 02/12/21 Page 1 of 1


                                          CORRECTED

           In the United States Court of Federal Claims
                                            No. 21-595C
                                     (Filed: February 12, 2021)

                                               )
 WILLIAM J. ROHLAND,                           )
                                               )
                      Plaintiff,               )
                                               )
 v.                                            )
                                               )
 UNITED STATES,                                )
                                               )
                        Defendant.             )
                                               )
                                               )

                                             ORDER

       On January 5, 2021, William J. Rohland filed a complaint against the federal government.
The plaintiff concurrently sought leave to proceed in forma pauperis.

         The plaintiff’s application for leave to proceed in forma pauperis was inadequate. On
January 13, 2021, the Court ordered the plaintiff to submit the required fees or file a complete
motion to proceed in forma pauperis by February 11, 2021. The plaintiff was warned that the
failure to pay the filing fee or to file a complete application to proceed in forma pauperis would
result in the dismissal of his claim.

        The plaintiff filed a renewed application to proceed in forma pauperis on February 4,
2021. That renewed application consists only of the first page of the form application and a copy
of his prison trust account statement. The plaintiff’s incomplete application fails to satisfy the
terms of the Court’s Order of January 13, 2021.

        Because the plaintiff has failed to comply with the Court’s order and has submitted
neither the filing fee nor a completed application to proceed in forma pauperis, the complaint is
DISMISSED without prejudice for failure to pay the filing fee or file a timely complete motion
to proceed in forma pauperis. The Clerk shall enter judgment accordingly. No costs are
awarded.

       It is so ORDERED.
                                                                  s/ Richard A. Hertling
                                                                  Richard A. Hertling
                                                                  Judge
